                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              5:23-cv-5-FL

The Common Application, Inc.,

       Plaintiff,

v.
                                          ORDER ALLOWING EXTENSION OF
Bonck America Corporation f/k/a                      TIME
Beijing Bonck Technology America
Corporation,

       Defendant.



      Defendant moved, under Rule 6, for an order extending time in which to file a

responsive pleading. It appears to the court that the time allowed had not expired

when Defendants moved the court and that the motion should be allowed.

      IT IS THEREFORE ORDERED that the time for filing a responsive pleading

be extended 30 days up to and including 3 March 2023.



This __ day of February 2023

                                                ________________________________

                                                                   Presiding Judge




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